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   9                      UNITED STATES DISTRICT COURT

  10                    SOUTHERN DISTRICT OF CALIFORNIA

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  12   KATHRYN KAILIKOLE, an                   Case No: 3:18-cv-02877-AJB-MSB
       individual,
  13                                           PLAINTIFF'S RESPONSE TO
                         Plaintiff,            DEFENDANT'S NOTICE OF NEW
  14                                           AUTHORITY SUBMITTED AFTER
             v.                                SPECIAL MOTION TO STRIKE
  15                                           WAS TAKEN UNDER SUBMISSION
  16   PALOMARCOMMUNITY                        BY THE COURT
       COLLEGE DISTRICT, a
  17   govemmental entity; and DOES 1
       through 25, inclusive,                  Hearing Date: July 18, 2019
  18                                           Hearing Time: 2:00p.m.
                         Defendants.           Courtroom: 4A
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  24      RESPONSE TO DEFENDANT'S "NOTICE OF NEW AUTHORITY"
  25         In a belated effort to support its meritless anti-SLAPP motion, Defendant
  26   Palomar Community College District (the "District") improperly submits further
  27   briefing without leave of the Court. Moreover, the new authority submitted by the
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                                            RESPONSE TO NOTICE OF NEW AUTHORITY
                                                        CASE NO. 18CV2877 AJB MSB
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   1   District, Wilson v. Cable News Network, 2019 WL 3281342 (Cal., July 22, 2018,
   2   No. S239686), concerns the naiTow issue of whether an employment decision by a
   3   news organization that affects the content of its broadcasts implicates the news
   4   organization's exercise of its free speech rights. Wilson has nothing to do with
   5   employment decisions by government entities like the District, and it certainly does
   6   not support the District's frivolous position that any employment decision reached
   7   by a vote of its Goveming Board constitutes "protected activity," even though such
   8   decisions are not exercises of fi·ee speech or petitioning rights as required by the
   9   anti-SLAPP statute.
  10           In Wilson, the plaintiff was a writer and producer for CNN. 2019 WL
  11   3281342 at **1. Among other things, the plaintiff alleged that CNN terminated
  12   him because of his race and other protected rights, as well as in retaliation for
  13   complaining about discrimination. !d. ** 2. In analyzing CNN's anti-SLAPP
  14   motion, the court rejected CNN's argument that its decisions to hire or fire writers
  15   or other content producers categorically qualifY as conduct in furtherance of its free
  16   speech rights because some employee's roles, like the plaintiffs, do "not bear a
  17   sufficient relationship to a news organizations exercise of editorial control to
  18   warrant protection under the anti-SLAPP statute." !d. at **9, 10. However,
  19   because CNN provided evidence that it terminated plaintiff due to alleged
  20   plagiarism, the termination related to CNN's editorial control of what it broadcasts
  21   which does implicate its right to free speech. !d. at ** 11. In reaching this decision,
  22   which applies only to employment decisions by news organizations, the Court
  23   cautioned that it would be "relatively unusual" for a defendant in a discrimination
  24   or retaliation case to "meet its first-step burden of showing that its challenged
  25   actions qualifY as protected activity .... " !d. at **7.
  26         Wilson is consistent with the requirement of the anti-SLAPP statute that a
  27   Plaintiffs claims arise out of protected activity only where the "defendant's act
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                                               RESPONSE TO NOTICE OF NEW AUTHORJTY
                                                           CASE NO. 18CV2877 AJB MSB
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   1    underlying the plaintiffs cause of action is an act in furtherance of a person's right
   2    of petition or fi·ee speech."    Park v. Bd. of Trustees of the California State
   3    University, 2 Cal. 5th 1057, 1062 (2017) (quoting City of Cotati v. Cashman, 29
   4    Cal. 4th 69,78 (2002); Cal. Code Civ. Proc. § 425.16(a) (emphasis added). Here,
   5    however, unlike in Wilson, the District fails to identify any adverse employment
   6    action alleged by Plaintiff that even arguably constitutes speech or petitioning
   7    activity by the District. Instead, the District simply claims that any decision
   8    reached by an elected body after a vote constitutes "protected activity." The
   9    District offers no authority for this position, which contravenes both the clear
  10    requirement of speech or petitioning activity and applicable case law holding that
  11    "[a]cts of governance mandated by law, without more, are not exercises of free
  12    speech or petition." San Ramon Valley Fire Protection District v. Contra Costa
  13    County Employee Retirement Association, 125 Cal. App. 4th 343, 354 (2004).
  14    Thus, there never was, and still is not, any authority or non-frivolous argument for
  15    the District's position that by voting on employment decisions, it is entitled to wield
  16    the anti-SLAPP statute as weapon against any employee who dares to assert their
  17    civil rights.
  1.8          The District's latest attempt to submit inapplicable authority further
  19    demonstrates that the motion is frivolous and was filed to harass and delay, thereby
  20    triggering a mandatory award of attorneys' fees to Plaintiff under Code of Civil
  21    Procedure Section425.16(c).
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                                               Respectfully submitted,
  23     Dated: July 25, 2019
  24
                                               DWIN LEGAL, APC

  25                                           By:     Is/ Evan Dwin
                                                      EvanDwin
  26                                                  Attorneys for Plaintiff
                                                      KATHRYN KAILIKOLE
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                                                RESPONSE TO NOTICE OF NEW AUTHORITY
                                                            CASE NO. 18CV2877 AJB MSB
